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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

UNITED STATES OF AMERICA,                            ) Criminal Case No. 3:10cr00033-1
                                                     )
v.                                                   ) MEMORANDUM OPINION
                                                     )
ANTWAN LAMAR JACKSON,                                ) By: Norman K. Moon
    Petitioner.                                      ) United States District Judge

        Antwan Lamar Jackson, a federal inmate proceeding pro se, filed a motion to vacate, set

aside, or correct sentence, pursuant to 28 U.S.C. § 2255. Upon review of the motion and court

records, however, I conclude that the current § 2255 motion must be dismissed as an

unauthorized, successive motion.

        Jackson challenges his sentence of life plus 120 months for murder and various drug and

firearm offenses in connection with a drug distribution conspiracy. Court records indicate that

Jackson previously filed a § 2255 motion regarding the same convictions and sentence, which I

denied. See Docket Nos. 132, 152, and 153. I may consider a second or successive § 2255

motion only upon specific certification from the United States Court of Appeals for the Fourth

Circuit that the claims in the motion meet certain criteria. See § 2255(h). As Jackson has not

submitted any evidence of having obtained certification from the Court of Appeals to file a

second or successive § 2255 motion, I must dismiss the current action without prejudice.1

                    26th day of July, 2016.
        ENTER: This _____




        1
          Jackson also filed a motion to stay the court’s consideration of his § 2255 motion until such time
that the United State Court of Appeals for the Fourth Circuit ruled on his motion seeking authorization to
file a second or successive § 2255 motion. The Court of Appeals recently denied Jackson’s request and,
therefore, his motion to stay is now moot. In re: Antwan Lamar Jackson, No. 16-9860 (4th Cir. July 21,
2016).
